(1 of 13), Page 1 of 13     Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 1 of 13




                                           Nos. 25-1313, 25-1939

                           IN THE UNITED STATES COURT OF APPEALS
                                   FOR THE NINTH CIRCUIT


                                              PACITO, et al.,
                                                       Plaintiffs-Appellees,
                                                      v.
                                       DONALD J. TRUMP, et al.,
                                                   Defendants-Appellants.


                              On Appeal from the United States District Court
                                  for the Western District of Washington
                                   District Court Case No. 2:25-cv-255


                          MOTION TO AMEND ORDER GRANTING A STAY,
                          OR, IN THE ALTERNATIVE, FOR CLARIFICATION

                               [RELIEF REQUESTED BY MAY 12, 2025]


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(2 of 13), Page 2 of 13     Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 2 of 13




                                              INTRODUCTION

                    The government regrets that the district court has forced the government to

             file yet another motion for clarification after the district court adopted an untenable

             reading of this Court’s stay order that would defeat the purpose of the President’s

             Executive Order and compel the admission into the United States of well over 10,000

             refugees in short order. Indeed, the “compliance framework” that the district court

             issued yesterday—based on a submission by Plaintiffs that preceded this Court’s

             clarification of its stay order on April 21, 2025—effectively places the district judge

             in the position of superintending every detail of U.S. refugee processing and

             admission, despite the fact that this Court has already twice held that the government

             is likely to prevail on appeal in defending the President’s decision to suspend refugee

             admissions.

                    At this point, the government respectfully requests that the Court amend its

             earlier order and stay the district court’s injunction in full. By now, it has become

             clear (three times over) that ongoing collateral proceedings over injunction

             compliance are not workable. At minimum, the Court should clarify that the

             government’s interpretation of the panel’s clarification order is correct. The

             government respectfully seeks relief by May 12, 2025, which is when the district

             court’s first set of new compliance deadlines will take effect.




                                                       1
(3 of 13), Page 3 of 13      Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 3 of 13




                                               BACKGROUND

                    1. On February 28, 2025, the district court issued a written order enjoining the

             government from, among other things, suspending refugee processing, decisions,

             and admissions under the U.S. Refugee Admissions Program (“USRAP”). Dist. Ct.

             Dkt. No. 45 (enjoining Exec. Order No. 14163, Realigning the United States Refugee

             Admissions Program, 90 Fed. Reg. 8459 (Jan. 20, 2025) (“USRAP Order”)).

                    The government appealed that order on March 3, 2025, and moved this Court

             for a stay pending appeal. Dist. Ct. Dkt. No. 46; Dkt. No. 5.2. On March 25, 2025,

             this Court stayed the district court’s February 28, 2025 preliminary injunction order,

             except insofar as the government was instructed to preserve the status of individuals

             who were conditionally approved for refugee status before January 20, 2025 (“the

             carveout”). Dkt. No. 28.1. This Court instructed that the district court’s injunction

             was stayed “[i]n all other respects.” Id. at 2.

                    2. Despite the clear and comprehensive scope of the Court’s stay, the district

             court interpreted this Court’s order as requiring the government to process and admit

             what would have been over 120,000 refugee applicants based on its own definition

             of “conditionally approved.” Dist. Ct. Dkt. No. 92 at 4–5. The district court then

             ordered the parties to draft comprehensive compliance frameworks consistent with

             its expansive reading of this Court’s stay carveout. Dist. Ct. Dkt. No. 108 at 5–7.




                                                         2
(4 of 13), Page 4 of 13     Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 4 of 13




                    In response to those burdensome orders, the government sought clarification

             from this Court as to the scope of its injunction, specifically the meaning of the term

             “conditionally approved.” Dkt. No. 35.1. This Court then ruled in the government’s

             favor. Dkt. No. 46.1. As this Court explained, the carveout of its otherwise

             comprehensive stay applies only to a narrow group of individuals who meet three

             criteria. Id. at 4. The third criterion, in particular, sharply restricts the number of

             people who could benefit from the carveout—allowing in only those individuals who

             on or before January 20, 2025, “had arranged and confirmable travel plans to the

             United States.” Id.

                    That text was accompanied by the Court’s admonition that the carveout should

             not be construed so broadly as “to swallow the entire stay order”—such as a reading

             that would stretch the exception so far as to apply to “tens of thousands of

             individuals.” Id. at 2, 3. This Court clarified that the carveout was intended to reach

             only those applicants “who were conditionally approved and in transit,” individuals

             like Plaintiff Pacito who would have been furthest along in the approval process and

             “could demonstrate a strong reliance interest” in being allowed to complete that

             process. Id. at 2–4 (emphasis added).

                    3. With that explicit narrowing in mind, the government resumed processing

             for refugees who were scheduled to arrive in the United States within two weeks




                                                       3
(5 of 13), Page 5 of 13     Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 5 of 13




             following January 20, recognizing that the stay order remained in place for the vast

             majority of individuals subject to the USRAP Order.

                    The district court, however, expressed open frustration with this Court’s

             clarification. Dist. Dkt. No. 114 at 3 (stating that this Court’s “belated precision

             ha[d] created unnecessary confusion in a matter of significant humanitarian

             concern”). The district court proceeded to consider the “compliance framework” that

             Plaintiffs had proposed before this Court’s clarification of its stay. Id.

                    On May 5, 2025, the district court issued a 14-page compliance framework

             order. Dist. Dkt. No. 119. It found that all applicants who had any travel plans,

             including self-travel outside established USRAP processes, regardless of how far in

             the future—a number approximating 12,000—were still protected by the injunction.

             It also imposed an incredibly burdensome compliance schedule, requiring the

             government, within seven days, to take “immediate steps to facilitate travel and

             admissions” for that large group of people, id. at 8, despite all of those individuals

             having expired security checks and many needing to undergo a new round of

             mandatory medical examinations. See Ex. 1, Declaration of Spencer Chretien

             (“Chretien Decl.”) at ¶ 5. The district court also ordered the government to develop,

             within seven days, “a comprehensive plan, including a detailed timeline, to renew

             the travel clearances, including security and medical authorizations,” of all 12,000

             individuals, ignoring that such security checks are individualized and often resource-

                                                        4
(6 of 13), Page 6 of 13      Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 6 of 13




             intensive, and that timelines are highly variable across such a broad population. Dist.

             Dkt. No. 119 at 8. To closely monitor the implementation of this stringent plan, the

             district court also ordered that the government submit weekly reports “detailing

             actions taken since the last report.” Id. at 12.

                    In light of the district court’s departure from this Court’s clarification order,

             the government reluctantly determined that it must again seek amendment or, at

             minimum, clarification of this Court’s prior orders.

                                                  ARGUMENT

                    The district court has again badly erred by reading this Court’s March 25,

             2025 stay order so narrowly as to largely defeat its purpose. The government

             maintains that, under this Court’s order, only those refugees who were sufficiently

             far along in the process as to have imminent travel plans are exempted from the

             stay—not that the injunction continues to guarantee entry into the United States of

             thousands of refugees who were not scheduled to arrive for weeks or even months.

             Several features of this Court’s order drive that home.

                    First, this Court required that its carveout be limited to individuals with

             “confirmable” travel plans, not just “arranged” travel plans, as of January 20. Dkt.

             No. 46.1 at 4. “Confirmable” implies a temporal nexus: if an individual’s travel plan

             is too far out, then the booking is not reasonably confirmable and remains

             speculative. Travel plans are subject to change for many reasons, such as new


                                                         5
(7 of 13), Page 7 of 13      Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 7 of 13




             security or medical concerns, changes to personal circumstances, or logistical

             challenges. Chretien Decl. at ¶¶ 5, 12. All to say, whether travel plans will in fact

             take place becomes highly uncertain once one looks beyond a short window of time,

             such as the two weeks following January 20, 2025, which the government reasonably

             adopted here.

                    Second, to illustrate what it meant by “confirmable,” this Court pointed to

             Plaintiff Pacito, whose travel plans were so imminent—with travel booked for

             January 22, two days after the Executive Order took effect—as to render him

             virtually “in transit.” Dkt. No. 46.1 at 2, 4. Notably, this Court did not mention any

             of the named Plaintiffs who were scheduled to arrive in February. This Court is

             familiar with the district court docket and would have been aware from the pleadings

             below that Plaintiffs Alyas and Marcos were scheduled to travel in February. 1 See

             Dist. Dkt. No. 1 ¶¶ 157, 161. This Court could have readily mentioned those

             Plaintiffs, along with Plaintiff Pacito, when defining individuals whose travel was

             imminent and to whom it intended to extend the narrow carveout. But this Court did

             not name those individuals, presumably because those Plaintiffs were not in the same

             situation as Pacito, whose travel date was far more imminent than theirs.



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              Plaintiffs Ahmed and Sara, as well as the individuals to be sponsored by Plaintiff
             Rachel, did not have travel booked at all on or before January 20. See Dist. Dkt.
             No. 1 ¶¶ 153, 164, 172.

                                                       6
(8 of 13), Page 8 of 13      Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 8 of 13




                    Third, this Court expressly stated that it did not intend for “tens of thousands

             of individuals” to be admitted despite the USRAP Order. Dkt. No. 46.1 at 3. Yet

             over 12,000 individuals had travel booked for post-January 20, with the majority

             booked for February and some as far out as May. See Chretien Decl. at ¶ 9; see also

             id. Table. Under the district court’s interpretation, the carveout would apply to all of

             those individuals, most of whom were not virtually “in transit” like Pacito. Dist. Dkt.

             No. 119 at 4–5. Just like the district court’s prior interpretation of this Court’s stay

             order, this overbroad reading effectively swallows the entire stay. See Dkt. No. 46.1

             at 2. While the district court myopically concerned itself with distinguishing the

             12,000 figure from the “tens of thousands of individuals” referenced in this Court’s

             clarification, see Dist. Dkt. No. 119 at 5, it overlooked the point that this Court never

             intended to exempt anyone other than the individuals with the most extreme reliance

             interests, such as Pacito, who was virtually “in transit” with confirmed travel within

             two days of the USRAP Order being issued.

                    Fourth, this Court in clarifying the carveout underscored the heightened

             reliance interests presented by people like Pacito—who “sold all of his belongings

             in anticipation of flying to safety in the United States.” Dkt. No. 46.1 at 2–4. No

             other named Plaintiff had similar reliance interests, and it is unlikely the roughly

             12,000 individuals with plane tickets booked in the months after January 20 had sold

             all of their belongings or could otherwise claim the same reliance interests as Pacito.

                                                        7
(9 of 13), Page 9 of 13     Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 9 of 13




             This Court thus created a carveout only for applicants who “could demonstrate a

             strong reliance interest on the government’s approval process,” largely based on an

             imminent travel date. Dkt. No. 46.1 at 4 (emphasis added).

                    Fifth, this Court focused on the irreparable harm that would befall the

             government if forced to admit “tens of thousands of individuals.” Id. at 3. That is

             exactly what the district court’s latest compliance order would induce if it were to

             force the government to process and admit roughly 12,000 people without any regard

             for the imminence of those individuals’ travel dates. See Dist. Dkt. No. 119 at 5. And

             if nothing else, the district court’s reading of the carveout to require the admission

             of thousands of individuals conflicts with this Court’s conclusion that the

             government is likely to succeed on the merits under Hawaii v. Trump, 585 U.S. 667

             (2018). Dkt. No. 46.1 at 3 (explaining that 8 U.S.C. § 1182(f) “exudes deference to

             the President in every clause” (quoting Hawaii, 585 U.S. at 684)); Dkt. No. 46.1 at

             3.

                    Given this Court’s focus on individuals like Pacito, who were on the very cusp

             of transit, and its larger concern with avoiding irreparable harm to the government

             by admitting “tens of thousands of individuals,” the government yet again seeks

             clarification as to the scope of this Court’s stay. Notwithstanding this Court’s

             instruction, the district court would have the government advance the processing and

             admission of more than 12,000 individuals, many of whose travel plans would not

                                                       8
(10 of 13), Page 10 of 13   Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 10 of 13




             take place for weeks and months. That untenable injunction violates 8 U.S.C.

             § 1182(f), which authorizes the President to halt “the entry of any . . . class of aliens

             into the United States,” not to mention this Court’s stay.

                    Indeed, the district court is effectively requiring the government to relaunch

             the USRAP on a massive scale, since the number of individuals with booked travel

             spikes to over 5,000 in the first full week of February, and over 4,000 in the

             following week. Chretien Decl., Table. That drastic jump in booked travel from one

             week to the next is simply unprecedented, Chretien Decl. at ¶¶ 10–11, and the

             immediate processing of all those refugees cannot be what this Court had in mind

             when it explicitly held its carveout should not be read to “swallow” its otherwise far-

             reaching stay. Dkt. No. 46.1 at 2. Any reading of the carveout that would compel

             processing and admission for thousands upon thousands of applicants is inconsistent

             with this Court’s desire to avoid irreparable harm to the government, particularly in

             light of its conclusion that the government is likely to ultimately prevail on the

             merits. See id. at 3.

                                                CONCLUSION

                    For all of these reasons, the government correctly construed this Court’s

             orders, and the Court should clarify accordingly, or amend the stay order to align

             with the government’s interpretation. This Court should also go further, however—

             in light of the increasingly contentious collateral proceedings over compliance in the


                                                        9
(11 of 13), Page 11 of 13   Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 11 of 13




             district court, this Court should simply modify its order to stay the injunction in full.

             A full stay would avoid the improper judicial superintendence of refugee processing

             that the district court has imposed, and allow the parties to focus their attention on

             the pending merits appeal in this Court.


                                                        Respectfully submitted,

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             *On May 6, 2025, undersigned counsel contacted counsel for Plaintiffs-Appellees
             to seek their position on the instant motion and was informed that Plaintiffs-
             Appellees oppose the instant motion.
                                                        10
(12 of 13), Page 12 of 13   Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 12 of 13




                                   CERTIFICATE OF COMPLIANCE

                    Pursuant to Federal Rule of Appellate Procedure 27, I certify that foregoing

             motion complies with the type-volume limitation because it contains 2,178 words.

             This motion also complies with the typeface and type style requirements because it

             is proportionately spaced and has a 14-point Times New Roman typeface.


                                                           /s/ Joseph McCarter
                                                           JOSEPH MCCARTER
             May 6, 2025                                   Attorney for Defendants-Appellants




                                                      11
(13 of 13), Page 13 of 13   Case: 25-1939, 05/06/2025, DktEntry: 33.1, Page 13 of 13




                                      CERTIFICATE OF SERVICE

                    I hereby certify that on May 6, 2025, counsel for Defendants-Appellants

             electronically filed the foregoing with the Clerk of the Court for the United States

             Court of Appeals for the Ninth Circuit by using the CM/ECF system and that service

             will be accomplished via the CM/ECF system.



                                                           /s/ Joseph McCarter
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             Dated May 6, 2025                             Attorney for Defendants-Appellants




                                                      12
